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        (if known)




                                  Instructions for Bankruptcy Forms for Non-Individuals,




doing business as
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                                                                                   if known




              Check one:




              Check all that apply




            Check one:




                           Check all that apply




                                     ttachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                                                                if known




                     Check all that apply:
this district?




                                                                      Check all that apply.




                            Check one:
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 Fill in this information to identify the case:

 Debtor name            424 Group, Inc.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        4,133,830.07

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        4,133,830.07


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        2,212,522.20


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          2,212,522.20




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          424 Group, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Citibank                                               Checking                         3790                                    $4,682.07



 4.         Other cash equivalents (Identify all)


            4.1.     PayPal account                                                                                                                      $148.00




 5.         Total of Part 1.                                                                                                                     $4,830.07
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Security Deposit with 416-424 1/2 North Fairfax Ave., LLC                                                                     $12,000.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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      Examples
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                           Examples:
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Copy line 5, Part 1

                                   Copy line 9, Part 2.

                          Copy line 12, Part 3.

              Copy line 17, Part 4.

            Copy line 23, Part 5.

                                              Copy line 33, Part 6.


Copy line 43, Part 7.

                                                Copy line 51, Part 8.


                Copy line 56, Part 9..........................................


                                                Copy line 66, Part 10.

                   Copy line 78, Part 11.
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Schedule D: Creditors Who Have Claims Secured by Property
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                                                                                                        Schedule A/B: Assets - Real and
Personal Property             Schedule G: Executory Contracts and Unexpired Leases




                                                                                     Check all that apply.




                                                                                     Check all that apply.




                                                                                     Check all that apply.




                                                                                     Check all that apply.
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                                              Schedule A/B: Assets - Real and Personal          Property
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Column 1:                                        Column 2:



                                                                     Check all schedules
                                                                     that apply:
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                                 Non-business income




                                                            Check all that apply
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                                                                Check all that apply




    Insiders
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                                                                     (Schedule
                         A/B: Assets – Real and Personal Property)
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 Debtor        424 Group, Inc.                                                                           Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Weintraub & Selth, APC
                 11766 Wilshire Blvd., Suite
                 1170
                 Los Angeles, CA 90025                               Wire Transfer                                             12/16/21             $30,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.2.     Weintraub & Selth, APC
                 11766 Wilshire Blvd., Suite
                 1170
                 Los Angeles, CA 90025                               Credit card                                               12/17/21             $12,500.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Katrina Sirdofsky, CEO and majority
                 shareholder-loan to Debtor



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                          Description of property transferred or                   Date transfer          Total amount or
                Address                                         payments received or debts paid in exchange              was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     775 E. Blithedale Ave., Suite 358                                                                         CPA address used for bank
                 Mill Valley, CA 94941                                                                                     statements

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 4
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Environmental law


Site


Hazardous material
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                                                          Katrina Sirdofsky, President
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                       424 Group, Inc.
                       999 Fifth Ave., Suite 320
                       San Rafael, CA 94901


                       James R. Selth
                       Weintraub & Selth, APC
                       11766 Wilshire Boulevard
                       Suite 1170
                       Los Angeles, CA 90025


                       100 Management
                       458 N. Doheny Dr., Unit 691310
                       Los Angeles, CA 90048


                       380 Group Srl
                       Via A. Manzoni 41
                       20121 Milano
                       ITALY


                       380 Group Srl
                       Via A. Manzoni 41
                       20121 Milano
                       ITALY


                       416-424 1/2 North Fairfax Ave, LLC
                       13914 Davana Terrace
                       Sherman Oaks, CA 91423


                       424 Group Wholesale, Inc.
                       999 Fifth Ave., Suite 320
                       San Rafael, CA 94901


                       ABC Legal Services
                       633 Yesler Way
                       Seattle, WA 98104
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                   Adidas
                   5055 N. Greeley Ave.
                   Portland, OR 97217


                   After Home Work
                   6/8 Impasse Chausson
                   75010 Paris
                   FRANCE


                   Alen Group
                   Interporto Sito Sud Terza Stada 8
                   10040 Rivalta Di Torino
                   ITALY


                   Altus Receivables Management
                   Attn: Kevin J. Nacoste
                   2400 Veterans Memorial Blvd.
                   Suite 300
                   Kenner, LA 70062


                   American Express
                   P.O. Box 981540
                   El Paso, TX 79998-1540


                   Ani Shekoian
                   2111 Barclay St.
                   Los Angeles, CA 90031


                   Armes
                   Chemin De Renou 2
                   1005 Lausanne
                   SWITZERLAND


                   Ashley Mitchell
                   604 Ledgestone Ct.
                   Lincoln, CA 95648-8237
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                   B B & S Cutting Services Inc
                   6351 Regent St., Suite 400
                   Huntington Park, CA 90255


                   Beep Iams
                   309 E 9th St.
                   2C
                   New York, NY 10003


                   Bellizio + Igel PLLC
                   305 Madison Ave., 40th Fl.
                   New York, NY 10165


                   Benjamin Marra
                   159 Essex St.
                   Toronto, ON M6G 1T6
                   CANADA


                   Black Dakini
                   903 Centinela Ave.
                   Santa Monica, CA 90403


                   Cali Fame
                   20934 S. Sante Fe Ave.
                   Carson, CA 90810


                   Capital Recovery Corporation
                   P.O. Box 1008
                   Alpharetta, GA 30009


                   CLM California Design Group
                   6330 S. Alameda St.
                   Huntington Park, CA 90255
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                   Corte D'Appello Di Milano
                   U.N.E.P. - Ufficiali Giudiziari
                   Via Pace, 10-20122 Milano
                   ITALY


                   David Finch
                   7266 Fanklin Ave.
                   #103
                   Los Angeles, CA 90046


                   DBA Creative LLC
                   1425 N. Alta Vista Blvd., Apt. 302
                   Los Angeles, CA 90046


                   DHL Express USA, Inc.
                   16416 Northcase Dr.
                   Houston, TX 77060


                   Edoardo Ormi
                   Piazza Della Liberta 13
                   Viale Don Minzoni 1
                   Florence
                   ITALY


                   Em Dash Inc
                   1420 1/2 Echo Park Ave.
                   Los Angeles, CA 90026


                   Eva Al Desnudo Ltd
                   Eva Losada Membribre
                   2, Millfields Road
                   E5 0SB London
                   UNITED KINGDOM


                   Eytys AB
                   Tegnerlunden 3
                   111 61 Stockholm
                   SWEDEN
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                   Federal Express
                   3610 Hacks Cross Rd.
                   Memphis, TN 38120


                   Fletcher Wash LLC
                   13400 Naoma Lane
                   Cerritos, CA 90703


                   Francesco Rossi
                   Piazza della Liberta 13
                   Viale Don Minzoni 1
                   Roncaglia Florence
                   ITALY


                   Fross Zelnick Lehrman & Zissu, P.C.
                   151 W. 42nd St., 17th Fl.
                   New York, NY 10036


                   Grafico Inc.
                   15326 Cornet St.
                   Santa Fe Springs, CA 90670


                   Guillermo Andrade
                   c/o Hillary Hughes
                   100 Wall St., 20th Fl.
                   New York, NY 10005-3708


                   Harvey Nichols & Co
                   361-365 Chiswick High Road
                   Chiswick London W4 4HS
                   UNITED KINGDOM


                   Hatkoff & Minassian
                   18757 Burbank Blvd., Suite 100
                   Tarzana, CA 91356
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                   Hebemo Limited
                   71 Queen Victoria Street
                   London, EC4V 4BE
                   UNITED KINGDOM


                   Hilldun Corporation
                   225 W. 35th St., 10th Fl.
                   New York, NY 10001


                   Hummel
                   Balticagade 20
                   8000 Aarhus C
                   DENMARK


                   Intermode Espress
                   Via Galileo Galilei, 3
                   36066 Sandrigo, Vicenza
                   ITALY


                   J6 SRL
                   Via Agostino Depretis 4 Vicenza,
                   Vicenza, 36100
                   ITALY


                   Jessica Carmona
                   1814 N. Serrano Ave., #15
                   Los Angeles, CA 90027


                   JP Tailoring Limited
                   Unit 79
                   The Galleria,
                   Hatfield AL10 0YA


                   Katrina Sirdofsky
                   999 Fifth Ave., Suite 320
                   San Rafael, CA 94901
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                   Kennedy Wilson Properties
                   P.O. Box 80329
                   City of Industry, CA 91716-8329


                   Kith NY
                   337 Lafayette St.
                   New York, NY 10012-2727


                   Law Office of Jeannette M. Boudreau
                   999 5th Ave., Suite 320
                   San Rafael, CA 94901


                   M.W.K. Pattern Making Inc
                   6804 Avalon Bl.
                   Los Angeles, CA 90003


                   Martine Rose Studio LTD
                   Unit 14, The Mews
                   Old Dairy Court
                   London N4 4AP
                   UNITED KINGDOM


                   Michael A. Shakouri
                   1800 Avenue of the Stars, Suite 675
                   Los Angeles, CA 90067-4221


                   Mishcon de Reya
                   Africa House
                   70 Kingsway
                   DX 37954 Kingsway London
                   UNITED KINGDOM


                   Mr. Porter
                   100 5th Ave.
                   New York, NY 10011
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                   Namachecko
                   Stagneliusvagen 38 c/o Lezan Lurr
                   112 57 Stockholm
                   SWEDEN


                   Nellcote
                   P.O.Box 11038
                   Napa, CA 94581


                   Owen Wickerson Aaronson
                   3 Lockhart Road, Wanchai
                   Hong Kong
                   CHINA


                   Pier Luigi Roncaglia
                   Piazza della Liberta 13
                   Viale Don Minzoni
                   Florence
                   ITALY


                   Project 11 Limited
                   2nd Floor Centennium House
                   100 Lower Thames Street
                   London EC3R 6DL
                   UNITED KINGDOM


                   Puma North America, Inc.
                   10 Lyberty Way
                   Westford, MA 01886


                   Rochambeau
                   511 Canal St.
                   New York, NY 10013


                   Royal - TL Inc.
                   270 Lafayette St., Suite 612
                   New York, NY 10012
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                   SCI Place Vendome
                   10 Rue de Beynes
                   78460 Neauphle le Bieux
                   RCS Versailles 537 439 952
                   FRANCE


                   Selfridges Retail Ltd
                   400 Oxford Street
                   London W1A 1AB
                   UNITED KINGDOM


                   Sever
                   UL Gagarina D. 7 KV/OF 41
                   Konakovo
                   RUSSIA


                   Siberia Hills
                   837 Traction Ave., #404
                   Los Angeles, CA 90015


                   Simon Intellectual Property Asia
                   3 Lockhart Road, 25th Fl.
                   Wanchai
                   HONG KONG


                   Slam Jam srl
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